
USCA1 Opinion

	





          February 23, 1995                                [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 94-1876                                  ANGEL TORRES-LOPEZ,                                Plaintiff, Appellant,                                          v.                              UNITED STATES OF AMERICA,                                 Defendant, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                 [Hon. Jaime Pieras, Jr., Senior U.S. District Judge]
                                          __________________________                                 ____________________                                        Before                                Torruella, Chief Judge,
                                           ___________                          Selya and Boudin, Circuit Judges.
                                            ______________                                 ____________________            Angel Torres-Lopez on brief pro se.
            __________________            Guillermo Gil, United States Attorney,  and Salixto Medina-Malav ,
            _____________                               _____________________        Deputy Chief,  Criminal Division, United States  Attorney's Office, on        brief for appellee.                                 ____________________



                                 ____________________                      Per  Curiam.  Petitioner Angel Torres-Lopez appeals
                      ___________            the denial of a motion pursuant to 28 U.S.C.   2255 to vacate            his judgment of  conviction.  After  carefully reviewing  the            record  and the briefs of the parties, we affirm the judgment            of the district court for the reasons stated in its Opinion &amp;            Order dated July 14, 1994.  We add only two comments.                      1.   On appeal, petitioner avers  that the district            court abused its discretion  in failing to hold a  hearing on            the    2255 petition.   First, petitioner did  not raise this            issue below.  In any  event, we do not find any merit  to it.            Where a    2255 motion  arguably is adequate  on its face,  a            hearing  is  not necessary  if  the  motion is  "conclusively            refuted as to the  alleged facts by the files  and records of            the case."  United States v.  DiCarlo, 575 F.2d 952, 954 (1st
                        _____________     _______            Cir.), cert. denied, 439 U.S. 834 (1978) (internal  quotation
                   ____________            marks  and citation omitted).   The motion here involves only            the  application  of certain  principles  of  law to  largely            undisputed  facts.   Thus, the  rule that material  issues of            fact may not be decided without an evidentiary hearing is not            applicable.  See id.   "Moreover, if the claim is  based upon
                         ___ ___            facts with which the  trial court, through . .  . observation            at trial, is familiar, the court may make findings without an            additional hearing . . . . "  Id.
                                          ___                      2.    This  brings  us  to  the  second   issue  --            petitioner's assertion  that the district  court judge should            have recused himself.  Again,  petitioner did not raise  this            claim below.   The only  basis for this  claim is that  the  



            2255  motion  required  the  judge  to  make  a  new  factual            determination on a question  as to which he already  had made            an allegedly erroneous finding.  "Prior adverse rulings alone            cannot,  of course,  be the  basis for  a motion  to recuse."            Panzardi-Alvarez  v. United  States, 879  F.2d 975,  984 (1st
            ________________     ______________            Cir. 1989), cert. denied,  493 U.S. 1082 (1990).  It  also is
                        ____________            not sufficient  to  merely  allege that  a  judge  is  biased            because he had been  involved in petitioner's trial.   Id. at
                                                                   ___            985.  Aside from the claim of the allegedly erroneous ruling,            petitioner fails  to present  any facts that  would establish            bias on the  judge's part.  Finally, it is  appropriate for a            judge to determine that a   2255 motion can be denied without            a hearing even if he was the judge at trial.  See id.
                                                          ___ ___                      The judgment of the district court is affirmed.
                                                            ________                                         -3-



